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                                                                             e-mail: kmarino@khmarino.com


                                            April 4, 2024

VIA ECF
Honorable Joanna Seybert, U.S.D.J.
United States District Court
Eastern District of New York
100 Federal Plaza
Central Islip, NY 11722

          Re:    United States v. Samuel Miele
                 Case 1:23-cr-00327-JS

Dear Judge Seybert:

        We write on behalf of Defendant Samuel Miele, who is scheduled to appear before your
Honor for sentencing at 3:00 pm on April 30, 2024. Our firm is scheduled to try a case in the
Circuit Court of the Sixth Judicial Circuit in and for Pinellas County, Florida, for three days
beginning on April 29, 2024. In light of that conflict, we respectfully request that your Honor
adjourn Mr. Miele’s sentencing to a later date in mid-May 2024 convenient to the Court. Counsel
for the Government consents to this request.
          Thank you for your consideration of this request and for your continued attention to this
matter.
                                               Respectfully,


                                               Kevin H. Marino
cc: All counsel of record
